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                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,                  PLAINTIFF SECURITIES AND
                                              EXCHANGE COMMISSION’S
   v.                                         CONSOLIDATED RESPONSE TO
                                              DEFENDANTS’, RELIEF
   DIGITAL LICENSING INC. (d/b/a “DEBT        DEFENDANTS’, AND THE RECEIVER’S
   Box”), a Wyoming corporation; JASON R.     PETITIONS FOR ATTORNEYS’ FEES
   ANDERSON, an individual; JACOB S.          AND COSTS [ECF 287-292, 295, 296, 299]
   ANDERSON, an individual; SCHAD E.
   BRANNON, an individual; ROYDON B.
   NELSON, an individual; JAMES E.
   FRANKLIN, an individual; WESTERN OIL       Case No. 2:23-cv-00482-RJS
   EXPLORATION COMPANY, INC., a
   Nevada corporation; RYAN BOWEN, an
   individual; IX GLOBAL, LLC, a Utah limited
   liability company; JOSEPH A. MARTINEZ, Chief Judge Robert J. Shelby
   an individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT GROUP,
   LLC (d/b/a “CORE 1 CRYPTO”), a Utah
   limited liability company; TRAVIS A.
   FLAHERTY, an individual; ALTON O.
   PARKER, an individual; BW HOLDINGS,
   LLC (d/b/a the “FAIR PROJECT”), a Utah
   limited liability company; BRENDAN J.
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   STANGIS, an individual; and MATTHEW D.
   FRITZSCHE, an individual;

                Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX LENDING,
   LLC, a Utah limited liability company;
   CALMFRITZ HOLDINGS, LLC, a Utah
   limited liability company; CALMES & CO,
   INC., a Utah corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO, a
   United Arab Emirates company; PURDY
   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE LLC,
   a Utah limited liability company; and UIU
   HOLDINGS, LLC, a Delaware limited
   liability company,

                Relief Defendants.
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         The Securities and Exchange Commission (“Commission”), through undersigned

  counsel, responds to the petitions for attorneys’ fees and costs filed by (1) James E. Franklin

  (Dkt. 287), (2) Calmes and Co, Inc. and Calmfritz Holdings, LLC (Dkt. 288), (3) Matthew

  Fritzsche (Dkt. 289), (4) iX Global, LLC, Joseph A. Martinez, and Travis Flaherty (“IX Global

  Defendants”) (Dkt. 290), (5) Benjamin F. Daniels, Mark W. Schuler, Alton O. Parker, B&B

  Investment Group, LLC, and BW Holdings LLC (“FAIR Project Defendants”) (Dkt. 291),

  (6) Digital Licensing Inc., Jason R. Anderson, Jacob S. Anderson, Schad E. Brannon, Roydon B.

  Nelson, Business Funding Solutions, LLC, Blox Lending, LLC, The Gold Collective LLC, and

  UIU Holdings, LLC (“Debt Box Defendants”) for fees for Kunzler Bean & Adamson, PC (Dkt.

  292), (7) Debt Box Defendants for fees for Morrison Cohen LLP (Dkt. 295), (8) Brendan J.

  Stangis (Dkt. 296), and (9) the Receiver (Dkt. 299) (collectively, the “Fee Petitions”).

         The Court ordered the Commission in its March 18, 2024 Memorandum Decision and

  Order (“Order”) to pay the Defendants’ and Receiver’s attorneys’ fees and legal costs arising

  from the TRO and the Receiver. Dkt. 275 at 74-75, 79. The Court noted that it would “ensure

  the reasonableness of the final amount by directing Defendants and Receiver submit a fee request

  and evaluating those requests in accordance with methodologies approved by the Tenth Circuit.”

  Id. at 76. The Court has wide discretion in assessing the reasonableness of fees, including in

  deciding whether to employ a “straight fee” method or a “lodestar” method. See, e.g., Hamilton

  v. Boise Cascade Exp., 519 F.3d 1197, 1206-07 (10th Cir. 2008). This Response discusses facts

  from the Fee Petitions that are relevant to the lodestar method, in the event the Court elects to

  use that method of fee calculation. This Response also identifies examples of fees and costs

  requested in certain of the Fee Petitions that the Court’s Order identified as nonrecoverable.




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         Analysis of the Fee Petitions Under the Lodestar Method

         The Receiver and Defendant Fritzsche analyze the reasonableness of the fees they request

  under both the straight fee method and the lodestar method. Dkt. 289 at 7-10; Dkt. 299 at 13-15.

  None of the other fee petitions analyzes the reasonableness of the requested fees under the

  lodestar method. When a court uses its inherent authority to sanction a party under the bad faith

  exception, the lodestar method is “an acceptable approach to determine the reasonableness of a

  fee request. . . .” Farmer v. Banco Popular of North America, 791 F.3d 1246, 1259 (10th Cir.

  2015); see also Gardner v. Long, No. 2:18-cv-00509, 2022 WL 2528329, at *2-5 (D. Utah July

  7, 2022) (Shelby, J.) (employing lodestar method to verify the reasonableness of the amount of a

  fee award as a sanction for bad-faith conduct).1

         Under the lodestar method, courts first determine “the number of hours reasonably

  expended on the litigation multiplied by a reasonable hourly rate.” Gardner, 2022 WL 2528329,

  at *2 (quoting Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). In assessing the reasonableness

  of the hourly rate, courts evaluate the “prevailing [rate] in the community for similar services by

  lawyers of reasonably comparable skill, experience and reputation.” Id. at *3 (quoting Blum v.

  Stenson, 465 U.S. 886, 895 n.11 (1984)).2 District courts should not “ignore[] the parties’

  market evidence and set[] an attorneys’ hourly rate using the rates [district courts] consistently

  grant[].” John Bean Techs. Corp. v. B GSE Grp., LLC, No. 1:17-cv-000142, 2023 WL 6164322,

  at *23 (D. Utah Sept. 21, 2023) (Shelby, J.) (quoting Case v. Unified Sch. Dist. No. 233, 157



  1
    “A party seeking attorney’s fees and costs has the burden of proof as to entitlement and
  amount.” Jackson v. Diversified Collection Servs., Inc., 485 Fed. App’x 311, 313 (10th Cir.
  2012).
  2
    “Unless the subject of the litigation is so unusual or requires such special skills that only an out-
  of-state attorney possesses, the fee rates of the local area should be applied even when the
  lawyers seeking fees are from another area.” Lippoldt v. Cole, 468 F.3d 1204, 1225 (10th Cir.
  2006) (cleaned up) (citing Ramos v. Lamm, 713 F.2d 546, 555 (10th Cir. 1983)).

                                                     2
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  F.3d 1243, 1255 (10th Cir. 1998)). “Courts may not use their ‘own knowledge to establish the

  appropriate rate unless the evidence of prevailing market rates is . . . inadequate.’” Id. at *23

  (quoting United Phosphorus, Ltd. v. Midland Fumigant, Inc., 205 F.3d 1219, 1234 (10th Cir.

  2000)). In assessing the reasonableness of the claimed hours, courts consider “(a) whether the

  hours are supported by adequate billing records; (b) whether the attorney has exercised billing

  judgment; and (c) whether the hours expended on each task are reasonable.” Id. at *18 (quoting

  Webb v. Cty. of Stanislaus, No. 2:21-mc-00696, 2022 WL 1288857, at *4 (D. Utah Apr. 29,

  2022) (citing Case, 157 F.3d at 1250)).

         In turning first to the reasonableness of the hourly rate, most of the hourly rates claimed

  by Defendants and the Receiver fall between $225 and $650 per hour,3 and Salt Lake City

  counsel have affirmed that rates falling within this range are consistent with rates charged by

  counsel in the Salt Lake City region for similar services in matters similar to this one. See Dkt.

  288 at 9-10; Dkt. 289-1 at 3; Dkt. 291-1 at 3-4. The Court has identified a similar range—

  between $265.50 and $643.50 per hour—as representing “a significant rate for the Salt Lake City

  legal market, but nevertheless reasonable given the skill, experience, and reputation [counsel]

  brought to bear on a difficult and protracted [intellectual property] case.” John Bean, 2023 WL

  6164322, at *25.4



  3
    The Receiver and his counsel used discounted hourly rates between $450 and $750 per hour,
  but the effective hourly rate after accounting for additional discounts was between approximately
  $211 and $531. See Dkt. 299-9 at 2-3.
  4
    John Bean cited recent decisions from the District of Utah that found reasonable attorney rates
  for complex matters in a comparable range. John Bean, 2023 WL 6164322, at *25 n.312 (citing
  Waas v. Red Ledges Land Dev. Inc., No. 2:20-cv-00580-TC-DBP, 2021 WL 5179218, at *3-4
  (D. Utah Nov. 2, 2021) (holding that $650 was a reasonable hourly rate for partners to bill in Salt
  Lake City); ESIP Series 1, LLC v. Doterra Int’l, LLC, No. 2:15-cv-00779, 2022 WL 17903397,
  at *5 (D. Utah Dec. 22, 2022) (approving hourly rates between $275 and $695 per hour in patent
  infringement case); Martin v. SGT, Inc. f/k/a TGT, Inc., No. 2:19-cv-00289, 2023 WL 3585326,



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         Defendants Calmes and Co, Inc. and Calmfritz Holdings, LLC, Matthew Fritzsche, FAIR

  Project Defendants, and Brendan J. Stangis used Salt Lake City counsel whose rates fall within

  the range of counsel rates identified above. See Dkt. 288 at 9; Dkt. 289-1 at 3; Dkt. 291-1 at 3-4;

  Dkt. 296-1 at 2. James Franklin and IX Global Defendants used out-of-state counsel whose rates

  are comparable to Salt Lake City counsel in this case and/or billed a de minimis amount in this

  matter. See Dkt 287-1 at 5; Dkt. 290-4 at 3; Dkt. 290-5 at 3.5 Debt Box Defendants used Salt

  Lake City counsel as local counsel and Morrison Cohen as lead counsel. Dkt. 295-1 at 8

  (arguing that Morrison Cohen was needed “to address an extraordinary and highly sensitive

  situation . . . in a complex SEC crypto enforcement action”). Morrison Cohen charged partner

  rates ranging from $825 to $1200 per hour and an associate rate of $610 per hour. Id. at 7.

         Turning next to the reasonableness of the claimed hours, the billing records submitted in

  support of a fee petition must contain “meticulous, contemporaneous time records that reveal, for

  each lawyer for whom fees are sought, all hours for which compensation is requested and how

  those hours were allotted to specific tasks.” John Bean, 2023 WL 6164322, at *18 (quoting

  Case, 157 F.3d at 1250) (noting that deficient time entries may be construed against the movant

  and striking, for example, a block-billed entry containing a non-compensable task along with

  compensable ones); see also Wopsock v. Dalton, No. 2:12-cv-00570, 2020 WL 5645621, at *8-

  11 (D. Utah Sept. 22, 2020) (Shelby, J.) (reducing fee by 10% because entries lacked specificity

  allowing Court to segregate time for recoverable activities from nonrecoverable ones). Counsel

  seeking fees must also “make a good faith effort to exclude from a fee request hours that are




  at *17 (D. Utah May 22, 2023) (Shelby, J.) (finding rates of up to $695 per hour “reasonable
  based on the skill, experience, and reputation [ ] counsel brought to bear on a difficult case”)).
  5
    IX Global Defendants also used Salt Lake City counsel whose rates fall within the range of
  counsel rates identified above. See Dkt. 290-2 at 3; Dkt. 290-3 at 3.

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  excessive, redundant, or otherwise unnecessary.” John Bean, 2023 WL 6164322, at *19

  (quoting Hensley, 461 U.S. at 434). The Court has considered “the relatively high rate of billing

  by partners when compared with associates and paralegals” as a factor in determining whether a

  party has exercised billing judgment and whether the reasonableness of a party’s fee request

  “warrant[s] a closer look.” See John Bean, 2023 WL 6164322, at *19. Finally, when evaluating

  the hours expended on each task, courts typically consider the factors set forth in Case v. Unified

  Sch. Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998) and Johnson v. Georgia Highway Exp.

  Inc., 488 F.2d 714, 717-19 (5th Cir. 1974) to determine whether the resulting award is reasonable

  or warrants further adjustment.6 See John Bean, 2023 WL 6164322, at *22-23.

         Using the methodology set forth above, the hours claimed by Defendants, Relief

  Defendants, and Receiver largely include the required detailed fee and cost information and

  appear to fall within a reasonable range given the compressed and urgent nature of responding to

  the TRO and Receivership Order, with two possible exceptions: First, as described below,

  Defendant Franklin’s fee petition lacks sufficiently detailed time entries. Second, some of the

  Fee Petitions appear to reflect high allocations of work among partners/shareholders compared to

  associates. See, e.g., Decl. of Richard Hong in Support of Debt Box Defendants’ Application for




  6
    The Case factors are: (1) the complexity of the case; (2) the number of reasonable strategies
  pursued; (3) the responses necessitated by the maneuvering of the other side; and (4) the
  potential duplication of services. Case, 157 F.3d at 1250. The Johnson factors are: (1) the time
  and labor required; (2) the novelty and difficulty of the questions; (3) the skill requisite to
  perform the legal service properly; (4) the preclusion of other employment by the attorney due to
  acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time
  limitations; (8) the amount involved and the results obtained; (9) the experience, reputation, and
  ability of the attorneys; (10) the undesirability of the case; (11) the nature and length of the
  professional relationship with the client; and (12) awards in similar cases. Johnson, 488 F.2d at
  717-19.

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  Attorneys’ Fees for Morrison Cohen LLP, Dkt. 295-1 at 7 (appearing to reflect 62% of the time

  billed by partners).

         Nonrecoverable Fees and Costs in the Fee Petitions

         The Court ordered Defendants and Receiver to submit fee petitions “setting forth in detail

  all attorneys’ fees and legal costs arising from the TRO and appointment of the Receiver.” Dkt.

  275 at 77. The TRO was in effect between July 28, 2023 and October 6, 2023. The Court

  instructed Defendants and Receiver to exclude from their fee petitions “all work attributable to

  the pending Motions to Dismiss filed by Defendants, as well as Defendants’ replies to the

  Commission’s Response to the Order to Show Cause.” Id. at 78. The Court further instructed

  Defendants and Receiver to include only costs permitted by 28 U.S.C. § 1920. Id. at 77 n.418.

         It appears that certain Defendants did not exclude from the Fee Petitions “all work

  attributable to the pending Motions to Dismiss filed by Defendants, as well as Defendants’

  replies to the Commission’s Response to the Order to Show Cause.” Id. at 78. For example:

                Fritzsche (Dkt. 289-1): Various entries related to work on OSC reply brief

                 between 12/18/23 and 03/18/24, see, e.g., ALG 01/09/24 entry for “Reviewed

                 friendly counsel draft response to SEC response to Order to show cause;

                 continued preparation of client declaration and client’s response, preparation of

                 correspondence to client regarding effort.”

                FAIR Project Defendants (Dkt. 291-1): Various entries related to work on

                 briefing regarding Defendants’ motions to dismiss on 10/05/23, 11/22/23, and

                 12/05/23; multiple entries between 12/29/23 and 01/12/24 related to work on OSC

                 reply brief, see, e.g., KEP 01/04/24 entry for “Review and revise Reply to SEC

                 Response to Order to Show Cause and supporting declarations.”




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                Calmes/Calmfritz (Dkt. 288): KTS 01/12/24 entry re: reviewing briefing received

                 on OSC issues.

         It also appears that certain Defendants included in the Fee Petitions fees and legal costs

  that are attributable to matters other than the Defendants’ Motions to Dismiss and replies

  regarding the Order to Show Cause that do not arise from the TRO and appointment of the

  Receiver. For example:

                Franklin (Dkt. 287-3): Petition seeks fees going back to 06/30/23, which pre-

                 dates issuance of the TRO, see Exhibit C, p.2.

                Fritzsche (Dkt. 289-1): Various entries relating to client and defendant

                 communications re: the SEC’s motion to dismiss, see, e.g., ALG 01/30/24 entry

                 “about SEC’s intent to dismiss the complaint without prejudice” and ALG

                 01/31/24 entry regarding review of SEC motion to dismiss and communications

                 with client regarding the motion.

                FAIR Project Defendants (Dkt. 291-1): 11/07/23 and 11/08/23 entries

                 referencing, among other tasks, work on Green United litigation; 11/14/23,

                 11/15/23, and 11/22/23 entries relating to the SEC’s motion for alternate service

                 on Defendant Franklin, see, e.g., 11/15/23 TAB entry for “Reviewed SEC motion

                 for alternative service and exhibits.”

         Certain of the time records do not “set[] forth in detail all attorneys’ fees and legal costs”

  and therefore it is not possible to determine if the fees and costs sought are “arising from the

  TRO and appointment of the Receiver.” Dkt. 275 at 77. For example:

                Franklin: Ex. A, p.6 amount claimed for “previous balance due” (Dkt 287-1); Ex.

                 B provides no information re: attorney hourly rate or amount of time billed (Dkt.



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                 287-2); Ex. C refers to “Attorney fees” and “phone calls” but provides no further

                 description of the work performed by counsel (Dkt. 287-3).

                FAIR Project Defendants (Dkt. 291-1): 11/02/23 KMW and TAB entries

                 regarding discussions with client on facts and allegations of case and case status

                 and strategy with no further information.

         Finally, it appears that Defendant Franklin is seeking to recover approximately $354 for

  outside counsel’s access to and hosting for Relativity, an electronic document review platform

  (Dkt. 287-1), and $982 for Westlaw research charges (Dkt. 287-3), which are not costs

  recoverable under 28 U.S.C. § 1920.




   Dated: May 1, 2024                                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 1, 2024, I caused the foregoing to be served to all parties

  entitled to service through the Court’s ECF system.

                                                    /s/ Michael S. Bailey
                                                    Michael S. Bailey

                                                    Attorney for Plaintiff Securities and Exchange
                                                    Commission
